                   Case 2:17-cv-01115-RSM Document 95 Filed 12/10/18 Page 1 of 4




 1                                                  THE HONORABLE RICARDO S. MARTINEZ
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                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
 9

10   SENIOR HOUSING ASSISTANCE                      No. 2:17-cv-01115-RSM
     GROUP,
11                                                  DEFENDANTS AND COUNTER-
                             Plaintiff,             PLAINTIFFS’ NOTICE OF MOTION
12                                                  RENOTED UNDER LCR 7(l)
              v.
13
     AMTAX HOLDINGS 260, LLC, et al.,
14
                             Defendants.
15

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17   AMTAX HOLDINGS 260, LLC, et al.,

18                           Counter-Plaintiffs,

19            v.

20   SENIOR HOUSING ASSISTANCE
     GROUP, et al.,
21
                              Counter-Defendants.
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     DEFENDANTS AND COUNTER-PLAINTIFFS’                                  Perkins Coie LLP
     NOTICE OF MOTION RENOTED                                      1201 Third Avenue, Suite 4900
     (No. 2:17-cv-01115-RSM) – 1                                     Seattle, WA 98101-3099
                                                                       Phone: 206.359.8000
     142376134.1                                                        Fax: 206.359.9000
              Case 2:17-cv-01115-RSM Document 95 Filed 12/10/18 Page 2 of 4




 1          On November 29, 2018, Defendants and Counter-Plaintiffs AMTAX Holdings 260,
 2    LLC, Protech Holdings W, LLC, AMTAX Holdings 259, LLC, AMTAX Holdings 261, LLC,
 3    AMTAX Holdings 258, LLC, AMTAX Holdings 257, LLC, AMTAX Holdings 164, LLC,
 4    Protech 2002-A, LLC, AMTAX Holdings 109, LLC, and Protech 2001-B, LLC (collectively,
 5    the “Limited Partners”) filed their Motion for Summary Judgment, noting the motion for
 6    consideration on January 11, 2019. Dkt. No. 89. The parties previously stipulated and the
 7    Court has ordered that oppositions to summary judgment motions are due on December 14,
 8    2018. Dkt. No. 84. As of this filing, no party has filed an opposition to the Limited Partners’
 9    Motion for Summary Judgment.
10          Pursuant to LCR 7(l), the Limited Partners renote their Motion for Summary Judgment to
11   December 21, 2018 to match the current noting dates for the two other summary judgment
12   motions filed on the same day as the Limited Partners’ motion. See, e.g., Dkt. No. 85.
13
            RESPECTFULLY SUBMITTED this 10th day of December, 2018.
14
                                                       Perkins Coie LLP
15

16                                                     By: /s/ Steven D. Merriman
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                   Case 2:17-cv-01115-RSM Document 95 Filed 12/10/18 Page 3 of 4




 1                                               Attorneys for AMTAX/Protech AMTAX
                                                 Holdings 260, LLC, Protech Holdings W, LLC,
 2                                               AMTAX Holdings 259, LLC, AMTAX
                                                 Holdings 261, LLC, AMTAX Holdings 258,
 3                                               LLC, AMTAX Holdings 257, LLC, AMTAX
                                                 Holdings 164, LLC, Protech 2002-A, LLC,
 4                                               AMTAX Holdings 109, LLC, and Protech
                                                 2001-B, LLC
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     142376134.1                                                      Fax: 206.359.9000
                   Case 2:17-cv-01115-RSM Document 95 Filed 12/10/18 Page 4 of 4




 1                                   CERTIFICATE OF SERVICE
 2            On December 10, 2018, I caused a copy of a foregoing document to be electronically
 3    filed via the Court’s Electronic Case Filing System, which will notify all attorneys of record of
 4    the filing.
 5                                                        By:     /s/ Steven D. Merriman
                                                                  Steven D. Merriman
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